 

Case 2:08-cv-02832-JTF-tmp Document 12-7 Filed 02/12/10 Page 1lof54 PagelD 439

~ Exhibit 5
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VA FSS Program

 

GETTING STARTED WITH THE

 
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